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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
          ROMAN GORIVODSKY                                                                                     AMAZON LOGISTICS

    (b) County of Residence of First Listed Plaintiff              BERGEN                                     County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Adam S. Barrist, Esq., 215-432-8829
P.O. Box 1820, Media, PA 19063

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C §1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Motor vehicle collision in Cliffside Park, NJ.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                         In excess of $150,000.00                 JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
05/13/2022                                                              /s/ ASB3587
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                           :
 ROMAN GORIVODSKY                                          : CIVIL ACTION
 100 Old Palisade Road, Apt. 1508                          :
 Fort Lee, NJ 07024                                        : No.________
                                                           :
                       Plaintiff,                          :
                                                           :
        v.                                                 :
                                                           :
 AMAZON LOGISTICS                                          :
 1165 Sanctuary Parkway                                    :
 Alpharetta, GA 30009                                      :
                                                           :
                       Defendant.                          :
                                                           :

                                         COMPLAINT


       Plaintiff, Roman Gorivodsky (“Mr. Gorivodsky,” or “Plaintiff”), through his undersigned

attorneys, brings the following Complaint against the above-captioned Defendant.


                                            PARTIES


   1. Plaintiff is an adult individual, citizen, resident and domiciliary of the State of New Jersey,

       with a home address of 100 Old Palisade Road, Apt. 1508, Fort Lee, NJ 07024.


   2. Defendant, Amazon Logistics (“Amazon”) is, upon information and belief, a corporation,

       partnership or other business entity in the State of Georgia, with a principal place of

       business, place of incorporation and citizenship of 1165 Sanctuary Parkway, Alpharetta,

       GA 30009.
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                                 JURISDICTION AND VENUE

 3. Jurisdiction is conferred pursuant to 28 U.S.C §1332 as Plaintiff is a citizen, resident and

    domiciliary of the State of New Jersey and Defendant has a principal place of business in,

    place of incorporation in and citizenship of the State of Georgia.

 4. There is, therefore, complete diversity between all Plaintiffs and all Defendants.

 5. The amount in controversy exceeds the sum of $75,000.00, exclusive of interest, fees and

    costs.

 6. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and (2), as the personal

    injuries that are the subject of this litigation occurred in Cliffside Park, NJ, within this

    District.


                                          FACTS


 7. On February 22, 2021, Mr. Gorivodsky was severely injured when Alberto Palma-Perez

    (“Mr. Palma-Perez”), while in the course and scope of employment with Amazon,

    negligently struck Mr. Gorivodsky’s vehicle from behind while Mr. Gorivodsky was

    stopped at a stop sign on Crescent Lane near the intersection with Railroad Avenue in

    Cliffside Park, NJ.

 8. Such violent collision caused Mr. Gorivodsky to a) sustain the permanent injuries described

    below, that have caused his body to not heal or function normally with further medical

    treatment; and b) suffer significant financial harm.

                             COUNT ONE – NEGLIGENCE

 9. Plaintiff incorporates, by reference, the foregoing paragraphs, as though set forth fully

    herein.

 10. As the direct and proximate cause of Defendant’s negligence as stated above, Mr.


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    Gorivodsky has suffered severe permanent physical injury, disfigurement and financial loss.

 11. The injuries that Mr. Gorivodsky has sustained are permanent in nature. Mr. Gorivodsky

    has suffered great physical and mental pain and anguish, and in all reasonable probability,

    will continue to suffer in this manner for a long time in the future, if not for the balance of

    his natural life.

 12. As a further result of the above negligent acts committed by Defendant, Mr. Gorivodsky

    has incurred and will continue to incur substantial medical expenses for medical care and

    attention and will continue to incur additional medical expenses into the foreseeable future.

 13. As a further result of the above negligent acts committed by Defendant, Mr. Gorivodsky

    has incurred and will continue to incur substantial financial harm due to vehicular property

    damage.

 14. In addition, Mr. Gorivodsky has suffered other economic injury and will likely continue to

    suffer such economic injury.

 15. Defendant, vicariously, through its agent/employee/authorized representative, Mr. Palma-

    Perez, operated its vehicle in such a careless and/or negligent manner as to have caused the

    aforesaid collision to occur.

 16. Defendant had a duty to Mr. Gorivodsky to not employ individuals who would operate its

    vehicle in such a careless and/or negligent manner.

 17. Defendant breached said duty, as set forth below.

 18. As a direct and proximate result of the aforesaid acts, omissions, carelessness and/or

    negligence on the part of Defendant, Mr. Gorivodsky suffered severe personal injuries; has

    been and will be in the future, made to endure great pain and suffering, both physical and

    mental in nature, has been and will be in the future required to expend great sums of money




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    for medical services; has been and will be in the future prevented from attending to his

    regular activities, duties and responsibilities; has been and will in the future be made to

    suffer lost earnings and other pecuniary loss.

 19. The aforesaid accident was caused by the negligence and/or carelessness of Defendant

    because it, itself, and/or, vicariously, through its agent/employee/authorized representative,

    Mr. Palma-Perez:

        a) Failed to keep its vehicle under control at all relevant times;

        b) Caused its vehicle to be driven at an excessive speed under the circumstances;

        c) Violated the Assured Clear Distance Ahead Rule;

        d) Disregarded traffic signals and signs;

        e) Failed to keep a proper lookout;

        f) Violently struck Plaintiff’s vehicle from behind;

        g) Was driving in distracted fashion;

        h) Negligently hired Mr. Palma-Perez;

        i) Negligently trained Mr. Palma-Perez;

        j) Negligently caused/forced Mr. Palma-Perez to drive its vehicle when she was in an

            unfit physical and/or mental condition to do so;

        k) Caused its vehicle to be in an unsafe condition; and

        l) Otherwise failed to exercise due care under the circumstances.

 20. As the result of the above-referenced accident, Mr. Gorivodsky suffered painful and serious

    injuries, including, but not limited to:

        a) disc herniation at C5-C6;

        b) right wrist TFC tear;

        c) sinus tarsi syndrome with ligamentous damage;


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           d) C5-C6 and L5 radiculopathy;

           e) other radiculopathy;

           f) cervicalgia;

           g) nerve damage throughout his body;

           h) strains, sprains, disc bulges and disc herniations throughout his body, the extent of

               which is presently unknown;

           i) torn ligaments and tendons throughout his body, the extent of which is presently

               unknown;

           j) head injuries, the extent of which is presently unknown; and

           k) emotional harm, the extent of which is presently unknown.

   21. As a result of such accident, Mr. Gorivodsky has incurred medical expenses and will

       continue to incur said medical expenses for an indefinite time into the future.

   22. As a result of such accident, Mr. Gorivodsky has incurred unreimbursed property

       loss/damages and will continue to incur said expenses for an indefinite time into the future.

   23. As a result of such accident, Mr. Gorivodsky suffered grievous pain and suffering and may

       continue to suffer same for an indefinite time into the future.

   24. As a result of such accident, Mr. Gorivodsky has suffered lost wages, and will suffer a loss

       of future earnings capacity.

   25. As a further result of such accident, Mr. Gorivodsky has suffered and will continue to suffer

       a loss of life’s pleasures.


       WHEREFORE, Plaintiff, Roman Gorivodsky, demands judgment against the Defendant,

Amazon Logistics, in an amount in excess of $150,000.00, plus costs, fees and whatever additional

relief that this Honorable Court deems just and appropriate.



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                                      THE BARRIST FIRM, LLC




                                         Adam S. Barrist, Esq.
                                         THE BARRIST FIRM, LLC
                                         P.O. Box 1820
                                         Media, PA 19063

                                         Attorney for Plaintiff


Date: May 13, 2022




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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

                                                         :
ROMAN GORIVODSKY                                         : CIVIL ACTION
100 Old Palisade Road, Apt. 1508                         :
Fort Lee, NJ 07024                                       : No.________
                                                         :
                     Plaintiff,                          :
                                                         :
       v.                                                :
                                                         :
AMAZON LOGISTICS                                         :
1165 Sanctuary Parkway                                   :
Alpharetta, GA 30009                                     :
                                                         :
                     Defendant.                          :
                                                         :

                                     JURY DEMAND

      Plaintiff, Roman Gorivodsky, hereby demands a trial by twelve (12) jurors.


                                                 Respectfully submitted,

                                               THE BARRIST FIRM, LLC




                                                 By:

                                                 Adam S. Barrist, Esq.
                                                 THE BARRIST FIRM, LLC
                                                 P.O. Box 1820
                                                 Media, PA 19063

                                                 Attorney for Plaintiff

Date: May 13, 2022




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